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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 21-cr-53 (CJN)
                                             :
EDWARD JACOB LANG,                           :
                                             :
                      Defendant.             :


                NOTICE OF FILING PROPOSED SCHEDULING ORDER

       The United States of America, through undersigned counsel, respectfully submits the

attached proposed scheduling order pursuant to the Court’s Minute Order dated May 5, 2023.

Counsel for the parties met and conferred on May 12, 2023, and counsel for the defendant and the

United States have agreed to the dates proposed subject to this Court’s approval.

                                             Respectfully submitted,

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                            EDWARD JACOB LANG

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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-cr-53 (CJN)
                                             :
EDWARD JACOB LANG,                           :
                                             :
                      Defendant.             :


                                   SCHEDULING ORDER

       Trial is set to begin in this matter on October 10, 2023, at 9:00 a.m. in Courtroom 19. Jury

selection will begin that day at 9:00 a.m., and will be conducted in accordance with Appendix 8

of the Continuity of Operations Plan for COVID-19, assuming that Appendix 8 remains in force.

The following deadlines shall govern pretrial proceedings:

   1. Before filing a motion, the Parties shall meet and confer to discuss whether any issues

       presented by the motion can be resolved by agreement of the Parties.

   2. The defense is contemplating whether or not to file a motion under 18 U.S.C. § 4241, and

       will make a determination about whether to file such a motion by June 5, 2023.

   3. The Defendant shall produce any reciprocal discovery not already disclosed by June 12,

       2023.

   4. The Defendant shall respond to any motions or responses previously filed by the

       government to which he has not already filed a response or a reply, as well as any motion

       to proceed by means of hybrid representation, by June 26, 2023. The government’s

       opposition to defendant’s motion to proceed by means of hybrid representation will be due

       on July 10, 2023, and any reply will be due by July 17, 2023. In the event that defendant




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   does not file his motion for hybrid representation by June 26, 2023, the government

   reserves the right to file a motion to preclude hybrid representation by July 10, 2023.

5. The parties shall make disclosures regarding any expert witnesses to be called in their case-

   in-chief by July 17, 2023. The parties shall make disclosures regarding any rebuttal expert

   witnesses by July 31, 2023.

6. The parties shall also file with the Court no later than August 11, 2023:

       a. A neutral statement of the case. The Parties shall include a neutral statement of the

            case for the Court to read to prospective jurors.

       b. Proposed voir dire questions. The Parties shall indicate:

                i. The voir dire questions on which the Parties agree; and

               ii. The voir dire questions on which the Parties disagree, with specific

                   objections noted below each disputed question.

       c.   Proposed jury instructions. The Parties shall submit a list of proposed jury

            instructions, followed by the text of each proposed instruction, that indicates:

                i. the instructions on which the parties agree, and

               ii. the instructions on which the parties disagree, with specific objections noted

                   below each disputed instruction; and the proposed instruction’s source, or,

                   for modified or new instructions, supporting legal authority. Proposed

                   instructions may be updated as needed to reflect the evidence presented at

                   trial. Absent a showing of good cause, no other modifications will be

                   permitted.

       d. List of witnesses. The Parties shall identify the witnesses that each side anticipates

            it may call in its case-in-chief, including any expert witnesses, divided into the

            following categories:


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               i. witnesses who will be called to testify at trial;

              ii. witnesses who may be called to testify at trial; and

             iii. witnesses whose testimony a party will present by deposition or other prior

                  testimony, indicating whether the presentation will be by transcript or video.

       e. Exhibit lists.    The Parties shall include a list of trial exhibits (including

          demonstratives, summaries, or other specially prepared exhibits), which includes:

               i. the exhibit number for each document;

              ii. the date of the document;

             iii. a brief description of the document;

              iv. a concise statement of the asserted basis of admissibility; and

              v. whether there is an objection to admission of the document, and if so, a

                  concise statement of the basis for the objection.

                  This list, together with numbered pre-marked copies of the exhibits, should

                  be submitted to the Court in a separate binder.

       f. Stipulations. The Parties shall submit a draft of all Stipulations.

       g. Proposed verdict form. The Parties shall include a draft verdict form, including any

          proposed special interrogatories. The draft verdict form should include a date and

          signature line for the jury foreperson.

7. The Parties will file any Daubert motions on or before August 24, 2023. Oppositions to

   Daubert motions shall be filed by September 1, 2023. Any reply shall be filed by

   September 8, 2023.

8. The United States should endeavor to make grand jury and Jencks Act disclosures as to

   each witness it expects to call in its case-in-chief 10 days before commencement of trial.

   Any Brady material not already disclosed must be disclosed by this date.


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9. The Court will schedule hearings on any motions filed by the Parties as necessary.

10. Counsel shall appear on October 3, 2023, at 10 a.m. for a pretrial conference in

   Courtroom 19. The Parties must submit to chambers a printed copy of the joint statement

   of the case tabbed and in a three-ring binder. The parties must submit an electronic copy

   of all proposed voir dire questions, jury instructions, and verdict forms in Word format by

   emailing them to Chambers at Nichols_Chambers@dcd.uscourts.gov.                  The jury

   instructions section must be formatted so that each individual jury instruction begins on a

   new page.

           Failure to comply with this Order will be deemed a waiver of all objections to

   matters covered by this Order.

   DATE: __________________                     _________________________
                                                CARL J. NICHOLS
                                                United States District Judge




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